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         Exhibit	  FF	  
12/15/22, 9:12 PM                           Case 1:23-cv-00822-ADA Document    27-25
                                                                       San Francisco       Filed
                                                                                     to Austin       12/22/22
                                                                                               | Google Flights Page 2 of 4




         Round trip                     1           Economy


                         …
              San Francis…                            Austin                                  Sat, Jan 14                       Sun, Jan 15


          All filters         Stops               Airlines               Bags               Price              Times                Emissions                  C




         Track                  Jan 14–15,                             Any
                                                                                                           Date grid                      Price graph
         prices                 2023                                   dates


Best departing flights
Ranked based on price and convenience                    Prices include required taxes + fees for 1 adult. Optional charges Sort by:
and bag fees may apply.



                    8:49 AM         2:27 PM                                                                                              $194
                    SFO             AUS                                                                                             round trip

                    Nonstop · 3 hr 38 min · United                                                                         165 kg CO2
                                                                                                                           Avg emissions

                    10:59 AM          4:37 PM                                                                                            $194
                    SFO               AUS                                                                                           round trip

                    Nonstop · 3 hr 38 min · United                                                                         182 kg CO2
https://www.google.com/flights?rlz=1C5CHFA_enUS668US673&sxsrf=ALiCzsa1Zfw7ZzVw-hS7vCe97OIlQu4QNw%3A1671160058528&source=flun&uitype=cuAA&hl=en&gl=us&curr=USD&tfs=CAEQAhonEgoy…   1/3
12/15/22, 9:12 PM                          Case 1:23-cv-00822-ADA Document    27-25
                                                                      San Francisco       Filed
                                                                                    to Austin       12/22/22
                                                                                              | Google Flights Page 3 of 4
                                                                                                                           Avg emissions

                    4:50 PM          10:22 PM                                                                                            $194
                    SFO              AUS                                                                                            round trip
                    Nonstop · 3 hr 32 min · United                                                                         172 kg CO2
                                                                                                                           Avg emissions

                    6:15 PM         11:41 PM                                                                                             $194
                    SFO             AUS                                                                                             round trip

                    Nonstop · 3 hr 26 min · Alaska · American                                                              168 kg CO2
                                                                                                                           Avg emissions

                    5:18 AM          12:50 PM                                                                                            $217
                    SFO              AUS                                                                                            round trip

                    1 stop · 5 hr 32 min · United                                                                        241 kg CO2
                                                                                                                         +37% emissions




                          Prices are currently typical for your trip.




Other departing flights

                    8:33 AM          3:52 PM                                                                                             $172
                    SFO              AUS                                                                                            round trip

                    1 stop · 5 hr 19 min · Frontier, Spirit                                                                164 kg CO2
                    SEPARATE TICKETS BOOKED TOGETHER                                                                       -6% emissions



                    6:00 AM           1:35 PM                                                                                            $226
https://www.google.com/flights?rlz=1C5CHFA_enUS668US673&sxsrf=ALiCzsa1Zfw7ZzVw-hS7vCe97OIlQu4QNw%3A1671160058528&source=flun&uitype=cuAA&hl=en&gl=us&curr=USD&tfs=CAEQAhonEgoy…   2/3
12/15/22, 9:12 PM                           Case 1:23-cv-00822-ADA Document    27-25
                                                                       San Francisco       Filed
                                                                                     to Austin       12/22/22
                                                                                               | Google Flights Page 4 of 4
                    SFO               AUS                                                                                           round trip

                    1 stop · 5 hr 35 min · American                                                                      217 kg CO2
                                                                                                                         +23% emissions

                    12:55 PM          9:09 PM                                                                                           $240
                    SFO               AUS                                                                                           round trip

                    1 stop · 6 hr 14 min · United                                                                        247 kg CO2
                                                                                                                         +40% emissions

                          62 more flights




               Language​· English (United States)                             Location​· United States                           Currency​· USD


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